                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                       CRIMINAL ACTION NO: 3:07-CR-211

                                               )
UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )       ORDER
                                               )
(2) VICTORIA SPROUSE, and                      )
(3) R. MICHAEL GEE                             )
                                               )

       THIS MATTER is before the Court upon Defendant Gee’s “Motion to Sever” (Document

No. 100), the “Government’s Motion to Sever Counts Against Defendant Sprouse” (Document No.

103), and Defendant Sprouse’s “Motion to Sever” (Document No. 146). This matter has been

referred to the Magistrate Judge and is ripe for review. Having carefully considered the record and

applicable law, the undersigned will grant severance of Counts 28-31 (perjury) and Counts 32-34

(obstruction of justice) in the Fourth Superceding Indictment for the following reasons:

       The decision to grant or deny severance is within the sound discretion of the trial court.

Zafiro v. United States, 506 U.S. 534, 538 (1993); United States v. West, 877 F.2d 281, 287-88 (4th

Cir.), cert. denied, 493 U.S. 959 (1989). Rule 8 of the Federal Rules of Criminal Procedure

provides:

               (a) Joinder of Offenses. The indictment or information may charge
               a defendant in separate counts with 2 or more offenses if the offenses
               charged--whether felonies or misdemeanors or both--are of the same
               or similar character, or are based on the same act or transaction, or are
               connected with or constitute parts of a common scheme or plan.
               (b) Joinder of Defendants. The indictment or information may
               charge 2 or more defendants if they are alleged to have participated
               in the same act or transaction, or in the same series of acts or
               transactions, constituting an offense or offenses. The defendants may
               be charged in one or more counts together or separately. All
               defendants need not be charged in each count.



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        Rule 14 of the Federal Rules of Criminal Procedure recognizes that joinder, even when

proper under Rule 8, may still prejudice a defendant. Severance is appropriate “if there is a serious

risk that a joint trial would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S. at 538; see also,

United States v. Allen, 491 F.3d 178, 189 (4th Cir. 2007).

        The Fourth Superceding Indictment contains 38 counts charging mail fraud, bank fraud,

making false statements to a bank, money laundering conspiracy, promotion of money laundering,

money laundering, perjury, obstruction of justice, and “mail, wire, and bank fraud conspiracy”

involving three defendants. Only Defendant Sprouse is charged in Counts 28-31 (perjury) and

Counts 32-34 (obstruction of justice).

        The United States requested severance of Counts 35 and 36 in the Third Superceding

Indictment, now numbered as Counts 33 and 34 (“obstruction of justice”) in the Fourth Superceding

Indictment, because “the only feasible means of proving those specific obstruction charges is to try

them separately in a trial not involving the substantive mortgage fraud charges.” (Document No.103,

p.3). The United States points out that “[t]he bulk of the indictment against defendant Sprouse

consists of mortgage fraud charges which will be proved at trial in part through the use of records

produced by her law firm in response to the various grand jury subpoenas.” (Document No.103, p.3).

        The United States seeks severance of these obstruction counts to avoid any possible problems

under the Fifth Amendment and the rule enunciated by the United States Supreme Court in Braswell

v. United States, 487 U.S. 99, 104 (1988) (explaining that a custodian of corporate records, after

being compelled to produce them, may not at a subsequent criminal trial have his or her identity




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revealed as the party producing the records as custodian, although the act of production may be used

to authenticate the records).1

       Defendant Sprouse does not oppose the Government’s motion, and in fact, separately moves

to sever several more counts (Counts 28 - 31). She suggests that the “perjury counts would be more

appropriately joined with those ...[obstruction] counts.” (Document No. 146, p.2). Similarly,

Defendant Gee argues that the perjury and obstruction charges against Sprouse “have nothing to do

with [him].” (Document No. 100, p.3).

       Sprouse points out that the perjury charges arose from her testimony as a defendant at a civil

trial that took place from January 29, 2007 to February 2, 2007. She indicates that these offenses

are removed in time from the others by several years, that these charges concern only her, and that

they are closely connected to the obstruction charges. Defendant Sprouse correctly points out that

“since a second trial is contemplated by the Government as to those [obstruction] counts, the joining

of the perjury counts would not affect judicial economy.” The United States indicates that “even in

separate trials, the evidence regarding the alleged perjury would be admissible to show motive and

criminal intent.” (Document No. 149, p.5). Severance of the obstruction and perjury charges is

appropriate in these circumstances.

       To the extent that Defendant Gee argues that he should be tried separately, he has not shown

that any prejudice to his defense would result from a joint trial. See United States v. Brooks, 957

F.2d 1138, 1145 (4th Cir.), cert. denied, 505 U.S. 1228 (1992). The charges against him arise from

his alleged involvement in a mortgage fraud scheme (the “Flip” scheme) which is the subject of

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        Although the United States indicates in a footnote that it did not request severance of a
third charge of obstruction because Defendant Sprouse has allegedly waived her Fifth
Amendment privilege regarding that count, that issue is not fully briefed. Given that the
obstruction and perjury charges are closely related, they will all be severed.


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Counts 1 through 27. All three defendants, including Gee, are charged in Count 1 (“mail, wire, and

bank fraud conspiracy”). Co-conspirators are generally tried together. Zafiro, 506 U.S. at 538

(observing that “we repeatedly have approved of joint trials”); United States v. Rusher, 966 F.2d 868,

877 (4th Cir.1992) (same).

        IT IS THEREFORE ORDERED that Defendant Gee’s “Motion to Sever” (Document No.

100), the “Government’s Motion to Sever Counts Against Defendant Sprouse” (Document No. 103),

and Defendant Sprouse’s “Motion to Sever” (Document No. 146) are:

        1) GRANTED to the following extent: Counts 28-31 and 32-34 are hereby severed from

this case;

        2) DENIED in all other respects.

        SO ORDERED.

                                                  Signed: February 9, 2009




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